Case 08-41984   Doc 131   Filed 12/15/08 Entered 12/15/08 15:46:50   Desc Main
                           Document     Page 1 of 11
Case 08-41984   Doc 131   Filed 12/15/08 Entered 12/15/08 15:46:50   Desc Main
                           Document     Page 2 of 11
Case 08-41984   Doc 131   Filed 12/15/08 Entered 12/15/08 15:46:50   Desc Main
                           Document     Page 3 of 11
Case 08-41984   Doc 131   Filed 12/15/08 Entered 12/15/08 15:46:50   Desc Main
                           Document     Page 4 of 11
Case 08-41984   Doc 131   Filed 12/15/08 Entered 12/15/08 15:46:50   Desc Main
                           Document     Page 5 of 11
Case 08-41984   Doc 131   Filed 12/15/08 Entered 12/15/08 15:46:50   Desc Main
                           Document     Page 6 of 11
Case 08-41984   Doc 131   Filed 12/15/08 Entered 12/15/08 15:46:50   Desc Main
                           Document     Page 7 of 11
Case 08-41984   Doc 131   Filed 12/15/08 Entered 12/15/08 15:46:50   Desc Main
                           Document     Page 8 of 11
Case 08-41984   Doc 131   Filed 12/15/08 Entered 12/15/08 15:46:50   Desc Main
                           Document     Page 9 of 11
Case 08-41984   Doc 131   Filed 12/15/08 Entered 12/15/08 15:46:50   Desc Main
                          Document      Page 10 of 11
Case 08-41984   Doc 131   Filed 12/15/08 Entered 12/15/08 15:46:50   Desc Main
                          Document      Page 11 of 11
